               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                   CIVIL CASE NO. 2:14-cv-00040-MR
            [CRIMINAL CASE NO. 2:12-cr-00033-MR-DLH-2]


KENNETH ASHE,               )
                            )
              Petitioner,   )
                            )
     vs.                    )                    MEMORANDUM OF
                            )                    DECISION AND ORDER
UNITED STATES OF AMERICA, )
                            )
              Respondent.   )
___________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence under 28 U.S.C. § 2255 [Doc. 1]. Also before

the Court are five pending motions to amend filed by Petitioner [Docs. 11,

12, 14, 17, 20]; two motions for an evidentiary hearing [Docs. 16, 25]; a

motion to expand the record [Doc. 23]; a motion for a reduction of his

sentence [Doc. 24]; and a motion for the appointment of counsel [Doc. 29].

I.     BACKGROUND

       On December 11, 2012, Petitioner and several others were arrested

for their participation in a narcotics-trafficking operation led by Petitioner’s

nephew, Glenn Ashe. [Criminal Case No. 2:12-cr-00033 (“CR”), Doc. 73 at

9: PSR]. The organization regularly sold crack cocaine in Western North



     Case 2:12-cr-00033-MR-WCM   Document 246    Filed 09/15/15   Page 1 of 32
Carolina. [Id. at 3-4]. Petitioner regularly assisted his nephew by picking up

crack cocaine from one of the organization’s suppliers. [Id. at 3-4, 10].

Petitioner also participated in sales of crack cocaine by the organization to

others, including several controlled purchases made under the direction of

law enforcement in the spring of 2012. [Id. at 4-10].

     On March 19, 2013, Petitioner pleaded guilty pursuant to a written plea

agreement to one count of conspiracy to possess with intent to distribute

crack cocaine.    [Id., Doc. 54: Acceptance and Entry of Guilty Plea].

Magistrate Judge Howell conducted an extensive plea colloquy under

Federal Rule of Criminal Procedure 11. [CR Doc. 171: Rule 11 Tr.]. The

Court placed Petitioner under oath and confirmed that he understood that he

could be prosecuted if he gave false information. [Id. at 3-4]. In response to

questions from the Court, Petitioner stated under oath that he was, in fact,

guilty of the offense to which he was pleading guilty; that his plea was

voluntary; and that “[o]ther than the promises contained in the written Plea

Agreement” no one had “made any promise” to Petitioner “or threatened

[him] in any way to cause [him] to enter [his] plea of guilty against [his]

wishes.” [Id. at 13-14]. During the colloquy, the Government described the

terms of the plea agreement, including the “stipulation as to the amount of

crack cocaine” at “226.7 grams,” and Petitioner confirmed that he understood


                                      2

  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 2 of 32
and agreed with the terms of the plea agreement as they were described by

the Government. [Id. at 15-16]. The Court also asked Petitioner about his

satisfaction with his court-appointed attorney, Rodney Hasty.            Petitioner

stated, “He’s done a good job” and affirmed that he was entirely satisfied with

the services of his attorney. [Id. at 17]. Based on what Petitioner and his

attorney said during the colloquy, Magistrate Judge Howell accepted

Petitioner’s guilty plea after finding that “the defendant’s plea is knowingly

and voluntarily made and that the defendant understands the charges, the

potential penalties and the consequences of his plea.” [Id. at 18].

      After the presentence report was prepared, but before he was

sentenced, Petitioner sought the appointment of a new attorney, and

attorney Hasty moved to withdraw. [CR Doc. 77, 78]. During a hearing on

Hasty’s motion to withdraw, Petitioner informed the Court that he did not

“agree with the way” that Hasty was representing him. [CR Doc. 172 at 15:

Tr. of Hr’g on Hasty Mot. to Withdraw]. Petitioner stated that Hasty, among

other things, “intimidates me and stuff, threatens me like I’m going to be

getting all this time and stuff.” [Id. at 11-12]. After hearing from Petitioner,

Judge Howell explained to Petitioner that it sounded like Petitioner disagreed

with what Hasty was telling Petitioner would probably be his sentence, and

that Hasty was “just trying to be truthful” with Petitioner. [Id. at 12]. Petitioner


                                         3

   Case 2:12-cr-00033-MR-WCM       Document 246     Filed 09/15/15   Page 3 of 32
agreed with the Court’s characterization of events, but persisted in his

request for another lawyer, which the Court granted. [Id. at 12, 16].

      Five days after he was appointed, Petitioner’s new attorney Eric Foster

moved, at Petitioner’s request, to withdraw as counsel. [Id., Doc. 82]. During

the hearing that Judge Howell conducted on the motion to withdraw, Foster

explained that Petitioner wanted Foster to proceed in a way that Foster

believed would have been unethical and would have threatened his license

to practice law.   [Id., Doc. 174 at 6; 22: Tr. of Hr’g on Foster Mot. to

Withdraw]. Foster informed the Court, “Ashe has a particular way he wants

to go . . . that involves making some factual assertions that I’m not

comfortable making, partly because I believe them to be false but even more

importantly because I believe the end result would be that Mr. Ashe would

receive a longer sentence than pursuing any different strategy.” [Id. at 5].

Petitioner personally informed the Court during the hearing that he believed

his plea agreement contained false information and that he was “intimidated

into doing it.” [Id. at 19-20]. In the light of that information, the Court

explained that it would order the appointment of another lawyer, direct that

lawyer to file a motion to withdraw Ashe’s guilty plea, and provide a copy of

the transcript of the hearing to the new lawyer to use in connection with the

motion. [Id. at 24].


                                      4

  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 4 of 32
      On August 22, 2013, the Court appointed Fredilyn Sison to represent

Petitioner, and on September 9, 2013, Sison filed a motion to withdraw

Petitioner’s guilty plea. [CR Doc. 102: Motion to Withdraw Guilty Plea]. The

motion asserted, “Mr. Ashe alleges that his plea was not voluntarily and

knowingly made.” [Id. at 2]. During a subsequent status-of-counsel hearing,

however, Sison explained that she could not proceed with Ashe’s motion to

withdraw his guilty plea because it was frivolous, and her ethical obligations

precluded her from presenting frivolous claims. [CR Doc. 177: Att’y Inquiry

Hr’g at 8]. Sison stated that as part of her investigation of Petitioner’s theory

that his plea was unknowing and involuntary because his attorney had

intimidated him into signing it, Sison obtained from the Cherokee County Jail

recordings of Petitioner’s conversations with his former counsel. [Id. at 6-7].

She stated that she personally reviewed those recordings of thirty

conversations.    [Id.]. She also reported that she had listened to these

recordings and reviewed them with Petitioner, and also had an investigator

from her office further review them with Petitioner. [Id. at 15-16].

      Sison stated that she also investigated and addressed an assertion by

Petitioner that the recordings were “doctored.” [Id. at 9]. Sison stated that

she personally watched Captain Watkins transfer the files from a hard drive

at the Cherokee County Jail to a thumb drive. [Id. at 6]. She also informed


                                       5

  Case 2:12-cr-00033-MR-WCM      Document 246     Filed 09/15/15   Page 5 of 32
the Court that she had confirmed, based on her own conversations with

Hasty, that the recorded “conversations were complete.” [Id. at 9].

      Sison informed the Court, “I couldn’t go forward with the Motion to

Withdraw his plea because what I had heard on those tapes indicate that it

was knowingly and voluntarily made.” [Id. at 8]. She further explained that

she didn’t “believe that any other lawyer could present this case to this Court”

because “it would be an ethical violation.” [Id. at 17]. Sison explained that

she could not present Ashe’s motion to withdraw and that, if he wanted to go

forward with it, he would have to present it as his own attorney. [Id.].

      Petitioner informed the Court that he wanted Sison to continue to

represent him. [Id. at 28-29]. After consulting with Petitioner, Sison moved

to withdraw the motion to withdraw Petitioner’s guilty plea. [Id. at 34-35].

The Court granted that motion. [CR Doc. 126]. In granting the motion, the

Court noted that “any ethical attorney is going to have the same opinion as

Mr. Hasty, Mr. Foster, and Ms. Sison” about pursuing the matter. [CR Doc.

177 at 33].

      On December 6, 2013, Petitioner again appeared before Judge

Howell, seeking an order permitting Petitioner to represent himself at his

sentencing hearing. [CR Doc. 183: Att’y Inquiry Hr’g]. Petitioner explained

that he wanted to pursue the theory that Sison had stated she was ethically


                                       6

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 6 of 32
precluded from pursuing. [Id. at 6]. The Court asked Petitioner a series of

questions on the record and confirmed that Petitioner understood the

charges against him and the maximum penalties; that Petitioner understood

that the Federal Rules of Evidence and Federal Rules of Criminal Procedure

would apply during his sentencing proceeding; and that he would likely be at

a disadvantage if he represented himself.       [Id. at 21, 23].    In light of

Petitioner’s representations, the Court found that Petitioner “knowingly and

voluntarily waived his right to counsel” and entered an order permitting

Petitioner to represent himself and appointing Sison as standby counsel.

[CR Doc. 141].

      Petitioner represented himself during his sentencing hearing on

December 11, 2013; however, he did not seek to withdraw his guilty plea or

attempt to argue that he entered that plea involuntarily. [CR Doc. 167:

Sentencing Hr’g Tr.]. To the contrary, Petitioner confirmed his answers to

the questions that Judge Howell had asked during Petitioner’s plea colloquy,

stating under oath that he had understood them and had answered them

truthfully. [Id. at 8]. Petitioner also confirmed to the Court that he had

pleaded guilty because he was guilty. [Id. at 9]. In response to the Court’s

question whether Petitioner’s plea was “a result of any threat or any force or

any promise other than promises that [we]re in [his] Plea agreement,”


                                      7

  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 7 of 32
Petitioner said, “No. No, sir.” [Id.]. Petitioner also explicitly confirmed that

he was “pleading guilty voluntarily.” [Id. at 9-10]. Based on Petitioner’s

representations during his sentencing hearing, this Court found that

Petitioner’s “plea [was] knowingly and voluntarily made, and that the

defendant underst[ood] the charges, potential penalties and consequences

of his plea.” [Id. at 10].

      After hearing from both Petitioner and the Government, this Court

sentenced Petitioner to 87 months of imprisonment, the low end of the

recommended Guidelines range. [CR Doc. 147: Judgment]. On December

20, 2013, Petitioner filed a pro se notice of appeal. [CR Doc. 151: Notice of

Appeal]. A fourth attorney, Carol Ann Bauer, was appointed to represent

Petitioner on direct appeal. On appeal, Petitioner argued that he was denied

effective assistance of counsel because none of his three attorneys moved

for a competency evaluation before seeking to withdraw from representation.

On September 9, 2014, the Fourth Circuit affirmed Petitioner’s conviction.

See United States v. Ashe, 583 F. App’x 155, 155 (4th Cir. 2014).

      Petitioner placed the instant motion to vacate in the prison system for

mailing on September 13, 2014, and it was stamp-filed in this Court on

September 18, 2014. In support of his motion to vacate, Petitioner contends

that his appellate attorney was constitutionally deficient for failing to


                                       8

   Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 8 of 32
introduce new evidence during his appeal and that trial counsel Hasty was

deficient for allegedly threatening him into pleading guilty, changing the

terms of the plea agreement after he signed it, and covering up for these

acts. [Doc. 1 at 4-8]. Petitioner additionally contends that trial counsel Sison

also rendered ineffective assistance of counsel by tampering with evidence

to cover up for attorney Hasty’s alleged ineffective assistance of counsel.

Since filing the initial motion to vacate, Petitioner has also filed five motions

to amend the motion to vacate, seeking to raise additional claims.

II.     STANDARD OF REVIEW

        Rule 4(b) of the Rules Governing Section 2255 Proceedings provides

that courts are to promptly examine motions to vacate, along with “any

attached exhibits and the record of prior proceedings . . .” in order to

determine whether the petitioner is entitled to any relief on the claims set

forth therein. After examining the record in this matter, the Court finds that

the motion to vacate can be resolved without an evidentiary hearing based

on the record and governing case law. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).1




1 Accordingly, Petitioner’s requests for an evidentiary hearing [Docs. 16, 25] are denied.


                                            9

      Case 2:12-cr-00033-MR-WCM       Document 246      Filed 09/15/15    Page 9 of 32
III.   DISCUSSION

       A.   Motion to Vacate Based on Ineffective Assistance of
            Counsel

            1.     Standard of Review

       The Sixth Amendment to the U.S. Constitution guarantees that in all

criminal prosecutions, the accused has the right to the assistance of counsel

for his defense.     See U.S. CONST. amend. VI.             To show ineffective

assistance of counsel, Petitioner must first establish a deficient performance

by counsel and, second, that the deficient performance prejudiced him. See

Strickland v. Washington, 466 U.S. 668, 687-88 (1984). In making this

determination, there is “a strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” Id. at 689; see

also United States v. Luck, 611 F.3d 183, 186 (4th Cir. 2010).

       Furthermore, in considering the prejudice prong of the analysis, the

Court “can only grant relief under . . . Strickland if the ‘result of the proceeding

was fundamentally unfair or unreliable.’” Sexton v. French, 163 F.3d 874,

882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)).

Under these circumstances, the petitioner “bears the burden of affirmatively

proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120 (4th Cir. 2008). If

the petitioner fails to meet this burden, a “reviewing court need not even

consider the performance prong.” United States v. Rhynes, 196 F.3d 207,
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   Case 2:12-cr-00033-MR-WCM      Document 246     Filed 09/15/15   Page 10 of 32
232 (4th Cir. 1999), opinion vacated on other grounds, 218 F.3d 310 (4th Cir.

2000). Finally, to demonstrate prejudice in the context of a guilty plea, a

petitioner must show “a reasonable probability that, but for counsel’s errors,

he would not have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 59 (1985).        In evaluating such a claim,

statements made by a defendant under oath at the plea hearing carry a

“strong presumption of verity” and present a “formidable barrier” to

subsequent collateral attacks. Blackledge v. Allison, 431 U.S. 63, 73-74

(1977). Indeed, “in the absence of extraordinary circumstances, the truth of

sworn statements made during a Rule 11 colloquy is conclusively

established, and a district court should dismiss . . . any § 2255 motion that

necessarily relies on allegations that contradict the sworn statements.”

United States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005).

            2.    Claims of Ineffective Appellate Counsel

      Petitioner first asserts that appellate counsel rendered deficient

performance by declining to introduce new evidence on appeal. Specifically,

Petitioner contends that appellate counsel refused to enter as evidence on

appeal a “CD-rom,” a statement by Petitioner’s nephew, a “statement of

probable cause,” and evidence of an “unauthorized tax” by the “State.” [Doc.

1 at 5]. He further asserts that his appellate attorney was deficient for raising


                                       11

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 11 of 32
on appeal the failure of Petitioner’s prior attorneys to challenge his

competency. [Id. at 6].

      The Fourth Circuit has recently explained that “[e]ffective assistance of

appellate counsel ‘does not require the presentation of all issues on appeal

that have merit.’” United States v. Mason, 774 F.3d 824, 828-29 (4th Cir.

2014) (quoting Lawrence v. Branker, 517 F.3d 700, 709 (4th Cir. 2008)).

Courts should ordinarily only “find ineffective assistance for failure to pursue

claims on appeal” when “‘ignored issues are clearly stronger than those

presented.’” Id. (quoting Smith v. Robbins, 528 U.S. 259, 288 (2000)). The

new evidence that Petitioner alleges he sought to present is not clearly

stronger than the issue of Petitioner’s competency, which his appellate

counsel actually raised. Indeed, even if counsel had attempted to bring in

the new evidence on Petitioner’s direct appeal, the appellate court would not

have considered the evidence because it was not before the district court.

Wright v. Southwest Airlines, 319 F. App’x 232, 233 n.2 (4th Cir. 2009) (“[T]his

court does not consider evidence that was not before the district court.”);

Theriot v. Parish of Jefferson, 185 F.3d 477, 491 n.26 (5th Cir. 1999) (“An

appellate court may not consider new evidence furnished for the first time on

appeal.”). For the same reason, Petitioner cannot establish prejudice, as

Petitioner has simply not shown that the outcome would have been different


                                      12

  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 12 of 32
even if the Fourth Circuit were to consider the new evidence. Petitioner’s

ineffective assistance claim based on the performance of his appellate

counsel is therefore denied and dismissed.

            3.    Claims of Ineffective Trial Counsel

      Petitioner next contends that attorneys Hasty and Sison rendered

ineffective assistance of counsel at the trial level. For the following reasons,

this claim is without merit.

      Petitioner first alleges that his first attorney Rodney Hasty threatened

Petitioner “with more time,” lied to him, and intimidated him to convince him

to plead guilty. [Doc. No. 1 at 7]. He also alleges that Hasty “changed” the

plea agreement after he signed it to increase the quantity of crack cocaine

for which he was responsible from 63 grams to 226 grams. [Id.]. Finally,

Petitioner alleges that his third attorney Fredilyn Sison “tampered with [the]

CDrom to cover for” Hasty’s conduct. [Id. at 8].

      Petitioner’s allegations are specifically contradicted by several parts of

the record. Petitioner explicitly informed the Court under oath during his plea

colloquy that nobody had threatened him in any way to cause him to enter

his plea of guilty, and that nobody had made any promises to him other than

those contained in the plea agreement. At the same hearing, Petitioner




                                      13

  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 13 of 32
further acknowledged that the quantity stipulated in the plea agreement was

226.7 grams of crack cocaine.

      Petitioner’s statements during his plea colloquy alone are enough to

establish that his “contrary allegations in his § 2255 motion are palpably

incredible and patently frivolous or false.” See United States v. Lemaster,

403 F.3d 216, 222-23 (4th Cir. 2005).          Moreover, the record further

contradicts Petitioner’s allegations. After he pleaded guilty, Petitioner made

allegations to Magistrate Judge Howell during a status-of-counsel hearing

similar to the allegations made here. Judge Howell later granted Petitioner’s

motion to represent himself at his sentencing hearing so that Petitioner could

present these allegations, after two attorneys determined that they were

frivolous and could not be presented by an ethical attorney.              At his

sentencing hearing, however, Petitioner explicitly stood by the answers given

during his plea colloquy and affirmed that his plea was not the result of any

threat, force, or promise other than what was stated in the plea agreement.

Petitioner has simply failed to show that his trial attorneys rendered deficient

performance.

      The Court further finds that, even if Petitioner could show that his trial

attorneys rendered deficient performance, his ineffective assistance claims

would still fail because he has not alleged that, but for the alleged errors of


                                      14

  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 14 of 32
these attorneys, he would have proceeded to trial. “[I]n order to prove

prejudice in the guilty plea context, a person challenging his conviction must

establish ‘a reasonable probability that, but for counsel’s errors, he would not

have pleaded guilty and would have insisted on going to trial.’” United States

v. Fugit, 703 F.3d 248, 260 (4th Cir. 2012) (quoting Hill v. Lockhart, 474 U.S.

52, 59 (1995)). Here, Petitioner confirms in his Motion to Vacate that he still

wants to plead guilty: “I want to plead guilty to the amounts that I was directly

responsible for in the two sales and what was found on me and re-sentenced

correctly.” [Doc. 1 at 12]. Petitioner “has no right to be offered a plea,”

Missouri v. Frye, 132 S. Ct. 1399, 1410 (2012), and his failure to allege that

but for his counsel’s errors he would have gone to trial is fatal to his

ineffective assistance of counsel claim. Ellis v. United States, No. 5:09-CR-

17, 2011 WL 3503118, at *5 (W.D.N.C. Aug. 10, 2011) (holding that failure

to “allege that absent counsel’s advice, he would have proceeded to trial

instead of pleading” guilty was fatal to claim of ineffective assistance of

counsel), appeal dismissed, 465 F. App’x 259 (2012). Petitioner’s ineffective

assistance claims based on the performance of his trial counsel are therefore

denied and dismissed.




                                       15

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 15 of 32
             4.     Additional Claims of Ineffectiveness Raised in Motions
                    to Amend

      Petitioner first seeks to amend his motion under Section 2255 to add

six theories of ineffective assistance of counsel.2              He argues that his

attorneys were constitutionally deficient for failing to argue that he was

selectively prosecuted, for failing to seek an evidentiary hearing about or file

objections to his presentence report, and for failing to seek a competency

evaluation. See [Doc. 11 at 1]. Petitioner also repeats his allegations that

his attorneys were constitutionally deficient because one coerced him into

pleading guilty and another covered up for the first attorney. See [Doc. No.

14-1 at 1-3]. Petitioner further argues that his attorneys were constitutionally

deficient for changing their assessment of whether he would be found to

have had a minimal role in the offense after reviewing the Presentence

Report and withdrawing from his case. [Doc. 17 at 1]. Finally, Petitioner



2 The amendment of § 2255 pleadings is governed by Rule 15 of the Federal Rules of

Civil Procedure. See United States v. Pittman, 209 F.3d 314, 317 (4th Cir. 2000). Rule
15(a) provides that a party may amend its pleading once as a matter of course within 21
days or within 21 days after service of a responsive pleading. Fed. R. Civ. P. 15(a)(1).
In all other cases, a party must seek leave to amend. Fed. R. Civ. P. 15(a)(2). Although
several of Petitioner’s motions to amend were filed before 21 days after the United States
filed its response on January 26, 2015, Rule 15 entitles Petitioner to only one amendment
as a matter of course. Fed. R. Civ. P. 15(a)(1). For the remaining motions to amend, he
must show good cause. Even assuming that Petitioner could satisfy the good cause
standard, the Court finds that the substantive claims asserted in the motions to amend
are without merit. Accordingly, the Court will allow the motions to amend but, for the
reasons stated herein, Petitioner’s additional claims for relief will be denied and
dismissed.
                                           16

  Case 2:12-cr-00033-MR-WCM          Document 246      Filed 09/15/15    Page 16 of 32
argues that his attorneys were constitutionally deficient for failing to

challenge his indictment based on several searches and seizures that he

alleges were illegal and led to the filing of the indictment. [Doc. 20 at 1, 2].

The Court will address each of these claims in turn.

      Petitioner first alleges that he was “selectively prosecuted,” and that

his attorneys were ineffective for declining to raise this issue. [Doc. 11 at 1].

Specifically, Petitioner alleges that he was targeted because of his “last

name being Ashe or [his] gender.” [Id.]. Petitioner also alleges that he was

selectively prosecuted based on his contention that his co-conspirators

received lower sentences than he received. [Doc. 17 at 1].

      Petitioner’s argument that his attorneys were constitutionally deficient

for declining to raise a challenge on grounds of selective prosecution fails for

two reasons.    First, Petitioner waived this argument by pleading guilty.

“When a defendant pleads guilty, he waives all nonjurisdictional defects in

the proceedings conducted prior to entry of the plea.” United States v.

Moussaoui, 591 F.3d 263, 279 (4th Cir. 2010) (quoting United States v.

Bundy, 392 F.3d 641, 644 (4th Cir. 2004)). Such defects include claims of

selective prosecution. See United States v. Knight, 96 F.3d 307, 309 (8th Cir.

1996). They also include claims of pre-plea ineffective assistance of counsel

about a matter that does not affect the voluntariness of the decision to plead


                                       17

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 17 of 32
guilty. See Moussaoui, 591 F.3d at 279 (holding that arguments alleging

pre-plea Sixth Amendment violations were “not cognizable” because the

defendant’s guilty plea had waived them); Fields v. Att’y Gen. of Md., 956

F.2d 1290, 1296 (4th Cir. 1992) (holding that a guilty plea waived a claim of

the denial of constitutionally required counsel “that occurred prior to” the

guilty plea and was “unrelated to it”); see also Smith v. Estelle, 711 F.2d 677,

682 (5th Cir. 1983) (“[O]nce a guilty plea has been entered, all

nonjurisdictional defects in the proceedings against a defendant are waived.

This includes all claims of ineffective assistance of counsel, except insofar

as the alleged ineffectiveness relates to the voluntariness of the giving of the

guilty plea.”).    Petitioner’s theory that counsel rendered deficient

performance by declining to raise a selective prosecution claim does not

relate to whether his guilty plea was unknowing or involuntary. Petitioner’s

guilty plea, therefore, waived any challenge based either on selective

prosecution or ineffective assistance for failure to raise selective prosecution.

Accord United States v. Knight, 96 F.3d 307, 309 (8th Cir. 1996) (holding that

defendant waived his selective prosecution claim by entering an

unconditional guilty plea); United States v. Suter, 755 F.2d 523, 527 (7th Cir.

1985) (same).




                                       18

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 18 of 32
      In any event, Petitioner’s selective prosecution claim is without merit.

A selective prosecution claim is “not a defense on the merits to the criminal

charge itself, but an independent assertion that the prosecutor has brought

the charge for reasons forbidden by the Constitution.” United States v.

Armstrong, 517 U.S. 456, 463 (1996). “The government ordinarily has wide

latitude in deciding whether to prosecute. However, equal protection forbids

basing the decision on an unjustifiable standard such as race, religion or

other arbitrary classification.” United States v. Venable, 666 F.3d 893, 900

(4th Cir. 2012) (internal quotation marks omitted).         To overcome “the

presumption that a prosecutor has not violated equal protection,” Petitioner

has a “high” burden to “establish both (1) that similarly situated individuals of

a different race were not prosecuted, and (2) that the decision to prosecute

was invidious or in bad faith.” Id. (quoting United States v. Olvis, 97 F.3d

739, 743 (4th Cir. 1996)).

      Even if his selective prosecution claim were not waived, Petitioner

could not establish that he was the victim of selective prosecution. In support

of his claim, Petitioner identifies three other individuals, Glen Ashe, Kristy

Dawn Franks, and Leslie Blakely, whom he alleges received more lenient

sentences than he did. All of these individuals, however, were prosecuted

and convicted based on their respective roles in the conspiracy.


                                       19

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 19 of 32
Furthermore, Petitioner cannot establish that the decision to prosecute him

was invidious or in bad faith. His conclusory allegation that he “feel[s] that

the prosecutor selectively prosecuted [him]” is insufficient as a matter of law.

United States v. Roane, 378 F.3d 382, 401 (4th Cir. 2004) (“‘Airy generalities,

conclusory assertions and hearsay statements do not suffice’ to stave off

summary judgment or entitle a habeas petitioner to an evidentiary hearing.”)

(quoting United States v. Aiello, 814 F.2d 109, 113 (2d Cir. 1987)).

      In sum, Petitioner’s attorneys were not constitutionally deficient for

declining to raise a meritless selective prosecution challenge. Petitioner has

not identified anything that would have suggested to a reasonable attorney

that his theory was viable, and he cannot establish prejudice because he

cannot establish a reasonable probability either that he would have foregone

his guilty plea to pursue the theory or that his theory would have been

successful.

      Petitioner next alleges that his attorneys were constitutionally deficient

for failing to file objections to or seek an evidentiary hearing to challenge his

presentence report. [Doc. 24 at 1]. As explained in the Government’s initial

response to Petitioner’s motion under Section 2255, Petitioner pleaded guilty

to a drug-trafficking conspiracy pursuant to an agreement stipulating that

Petitioner was responsible for 226.7 grams of crack cocaine. [Doc. 15 at 3].


                                       20

  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 20 of 32
Petitioner knowingly and voluntarily waived his right to counsel, and this

Court permitted Petitioner to represent himself at his sentencing hearing. [Id.

at 6]. The presentence report, which the Court adopted, determined that the

drug amount to which Petitioner stipulated in his plea agreement called for a

base offense level of 30. [CR Doc. 73 at 11]. The only adjustments the

report called for were a reduction of three offense levels for acceptance of

responsibility. [Id.].

      Petitioner cannot establish that his attorneys were constitutionally

deficient for failing to object to the presentence report. First, Petitioner

waived his right to be represented by counsel at his sentencing hearing, and

“a defendant who elects to represent himself cannot thereafter complain that

the quality of his own defense amounted to a denial of ‘effective assistance

of counsel.’” Faretta v. California, 422 U.S. 806, 834 n.46 (1975). Second,

an attorney is not constitutionally deficient for declining to pursue a strategy

that is fruitless or potentially harmful. See Harrington v. Richter, 562 U.S.

86, 108 (2011). Here, it would have been reasonable for an attorney to

conclude that a challenge to Petitioner’s presentence report would have

been fruitless and potentially harmful. Petitioner would likely have remained

bound by the drug quantity in his plea agreement, but a challenge might have

risked jeopardizing the adjustment he received for acceptance of


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  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 21 of 32
responsibility. See, e.g., U.S.S.G. § 3E1.1 cmt. n.1(A) (“[A] defendant who

falsely denies, or frivolously contests, relevant conduct that the court

determines to be true has acted in a manner inconsistent with acceptance of

responsibility.”).   Petitioner has not identified any objection to his

presentence report that had a reasonable probability of success.

Accordingly, even if Petitioner had not waived his right to counsel (and thus

effective assistance) at his sentencing, a failure to challenge the presentence

report would not have been objectively unreasonable or prejudicial.

      Petitioner next contends that his “attorneys should have had [him]

evaluated” because he “was suffering from several mental defects.” [Doc.

11 at 2]. In a criminal prosecution, either party may move for a hearing to

determine the mental competency of a defendant. 18 U.S.C. § 4241(a).

Such motion requires the court to order a competency hearing only “if there

is reasonable cause to believe that the defendant may presently be suffering

from a mental disease or defect rendering him mentally incompetent.” Id.

The Court may also order a hearing on its own motion. Id. Under the

applicable standard, a defendant is incompetent if he is “unable to

understand the nature and consequences of the proceedings against him or

to assist properly in his defense.” Id. The pursuit of a “frivolous” or “ill-

advised” legal strategy does not alone provide reasonable cause to question


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  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 22 of 32
a defendant’s competency. United States v. Banks, 482 F.3d 733, 742-43

(4th Cir. 2007).

      As explained in the Government’s initial response to Petitioner’s

motion under Section 2255, Petitioner was represented by three different

attorneys in his criminal case, and appeared before this Court on numerous

occasions, during which Magistrate Judge Howell and this Court interacted

directly with Petitioner. [Doc. 15 at 2-8]. None of Petitioner’s attorneys nor

this Court identified cause to believe that Petitioner was then suffering from

any issue rendering him mentally incompetent. Furthermore, Petitioner has

not identified anything that would have caused a reasonable attorney to

conclude that a motion for a competency hearing would have been fruitful,

nor has he shown any evidence demonstrating a reasonable probability that

he would have been found incompetent and that his sentence or conviction

would have been vacated. Petitioner mentions a “mental assessment that

was conducted during the time of the conspiracy,” [Doc. 11 at 2], presumably

referring to the mental health evaluation described in the presentence report.

[See CR Doc. 73 at 23]. That evaluation, conducted in 2000, revealed that

Petitioner suffered from bipolar disorder and depression. [Id.]. Nothing

about the 2000 evaluation, however, indicated that Petitioner was “presently

suffering from a mental disease or defect” at the time of his criminal


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  Case 2:12-cr-00033-MR-WCM     Document 246   Filed 09/15/15   Page 23 of 32
prosecution in 2013. 18 U.S.C. § 4241(a). Furthermore, nothing about the

2000 evaluation indicated that Petitioner ever suffered from an infirmity that

rendered him “unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense.” Id.

       Petitioner next contends that his attorneys were constitutionally

deficient because one coerced him into pleading guilty and another covered

up for the first attorney. [Doc. 14-1 at 1-3]. This claim fails as a matter of

law. Petitioner’s allegations that he was threatened into pleading guilty are

explicitly contradicted by Petitioner’s statements under oath during his plea

colloquy, which he affirmed when this Court reviewed that colloquy prior to

sentencing him. Furthermore, Petitioner cannot establish prejudice, as he

has not alleged that, but for his attorney’s conduct, he would have proceeded

to trial.

       Petitioner also contends that trial attorney Hasty rendered deficient

performance in various ways.       [Doc. 17 at 1].     Specifically, Petitioner

contends that Hasty told Petitioner that he “would receive a downward

departure for [his] minimal role in the activities.” [Id.]. Petitioner contends

that when the presentence report was issued, Hasty then “changed his story”

and told Petitioner that the Government was not willing to give Petitioner a

reduction in sentence for having a minimal role. [Id.]. Petitioner alleges that


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  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 24 of 32
attorney Hasty “then withdrew from the case, and refused to try to challenge

the PSR, or withdraw [Petitioner’s] plea.” [Id.].

      Petitioner’s allegations are insufficient to establish that his attorney

was constitutionally deficient.     Even assuming the truth of Petitioner’s

allegation that his attorney told him he would receive an adjustment for a

“minimal role”, Petitioner’s plea agreement expressly stated that “any

estimate of the likely sentence is a prediction rather than a promise” and that

there were no agreements, representations, or understandings between the

parties other than those set forth in the plea agreement. [CR Doc. 48 at 2,

7: Plea Agreement]. Moreover, Petitioner does not even purport to allege

that, but for his attorney’s prediction, he would have pleaded not guilty and

proceeded to trial, nor could he reasonably make such an allegation. The

plea agreement explicitly states what findings and conclusions the parties

would recommend to the Court with respect to Petitioner’s sentence, and a

downward adjustment based on his role is not among them. [Id. at 2].

      Petitioner also cannot establish that attorney Hasty was constitutionally

deficient for withdrawing from his case and failing to object to the

presentence report. Petitioner sought to represent himself at sentencing and

waived his right to counsel. [Doc. 15 at 6-7]. Petitioner, therefore, cannot




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  Case 2:12-cr-00033-MR-WCM       Document 246      Filed 09/15/15   Page 25 of 32
“complain that the quality of his own defense amounted to a denial of

‘effective assistance of counsel.’” Faretta, 422 U.S. at 834 n.46.

      Finally, in his motion to amend filed on March 27, 2015, Petitioner

contends that his attorneys were constitutionally deficient for failing to

challenge several searches and seizures that he alleges led to his

indictment. [Doc. 20 at 1, 2]. He alleges, in conclusory and speculative

fashion, that the indictment was based on the fruits of a number of different

searches and seizures, the fruits of which should have been suppressed.

[Id.]. Petitioner’s argument fails for the following reasons.

      First, any claim that Petitioner’s attorneys were deficient for declining

to move to suppress evidence that led to Petitioner’s indictment was waived

by Petitioner’s guilty plea. United States v. Devaughn, 73 F. App’x 627, 628

(4th Cir. 2003) (per curiam) (“[A] knowing and voluntary guilty plea waives

antecedent non-jurisdictional errors, including claims of unlawful search and

seizure.”) (citing Tollett v. Henderson, 411 U.S. 258, 267 (1973)). In any

event, Petitioner’s claim is without merit. Petitioner points to nothing, other

than his own conclusory allegations and speculation, indicating that his

indictment was based on evidence from any illegal search or seizure that he

had standing to challenge. [Doc. 20 at 1, 2]. Moreover, any challenge to

Petitioner’s indictment would have been meritless in any event. “[A] facially


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  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 26 of 32
valid indictment is not subject to dismissal simply because the grand jury

may have considered improper evidence, or because it was presented with

information or evidence that may contravene a constitutional privilege.” In

re Grand Jury Subpoena (T-112), 597 F.3d 189, 196 (4th Cir. 2010).

Furthermore, Petitioner has not alleged that, but for his attorney’s errors, he

would not have pleaded guilty and instead would have proceeded to trial in

order to pursue a challenge to the indictment. Accordingly, Petitioner cannot

establish that any decision by his attorneys not to challenge the searches

and seizures alleged by Petitioner was objectively unreasonable, or that

Petitioner suffered any prejudice as a result.

      B.    Motion to Vacate Based on Claim of Entrapment

      Petitioner next contends that he was somehow “entrapped” by “the

Government’s persistent and repeated efforts to purchase drugs from their

target,” Glen Ashe. [Doc. 17 at 1]. This claim fails. First, Petitioner waived

any challenge to this non-jurisdictional alleged defect by pleading guilty. See

Moussaoui, 591 F.3d at 279.       Second, “[a] claim of entrapment is not

cognizable in a § 2255 motion because it ‘presents no constitutional claim.’”

Grayson v. United States, No. 97cv2963(RWS), 1997 WL 695566, at *3

(S.D.N.Y. Nov. 6, 1997).       Finally, Petitioner forfeited any entrapment

argument by failing to raise it during his criminal case and on direct appeal,


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  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 27 of 32
and he has not even purported to allege the kind of cause and prejudice or

actual innocence that would excuse his procedural default. See Jackson v.

United States, 638 F. Supp. 2d 514, 601 (W.D.N.C. 2009). Accordingly,

Petitioner’s claim for entrapment is denied and dismissed.

      C.    Request for Discovery

      In his motion to amend filed on January 5, 2015, Petitioner asks this

Court to “enter into [the] record” notes of an interview dated December 13,

2013, in which Petitioner’s family members were interviewed in preparation

of sentencing.    [See Docs. 12, 13].        Petitioner’s motion to amend also

requests an “order granting [him] access to the phone conversation[s] that

are stored at Cherokee Co. Detention and the flash drive where they were

download[ed] from a CD Rom.” [Doc. 12 at 1]. Petitioner asserts that this

information relates to an effort to “cover up lies” that Petitioner’s trial counsel

Rodney Hasty told Petitioner and which “resulted in a[n] involuntary and

unknowing plea.” [Id.].

      This Court may authorize discovery in this proceeding only if Petitioner

is able to show “good cause,” which requires a “prima facie case for relief.”

Roane, 378 F.3d at 403. Petitioner is not entitled to discovery because the

record conclusively shows that Petitioner is not entitled to any relief under

Section 2255.       Petitioner’s discovery request relates to Petitioner’s


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  Case 2:12-cr-00033-MR-WCM       Document 246    Filed 09/15/15   Page 28 of 32
allegations that attorney Hasty threatened Petitioner into pleading guilty and

that attorney Sison covered up that evidence. As the Court has already

found, these allegations are palpably incredible and contradicted by the

record, including Petitioner’s own statements under oath. Petitioner cannot

establish, in any event, that conduct by his attorneys resulted in prejudice,

as he has not alleged that he would have pleaded not guilty and proceeded

to trial if not for that conduct. [Id.]. Because Petitioner has not established

a prima facie case for relief, he is not entitled to discovery. Roane, 378 F.3d

at 403.

      D.    Motion to Expand Record

      Petitioner seeks to expand the record to include a DEA investigation

report and a “criminal history report” of the confidential informant involved in

the investigation of Petitioner, both of which are attached to his motion. [Doc.

23]. The Court will allow the motion; however, for the reasons stated herein,

the record of this case, even as expanded by Petitioner’s filings, conclusively

shows that Petitioner is entitled to no relief under Section 2255.

      E.    Motion for Reduction of Sentence

      Petitioner seeks a reduction of his sentence based on his cooperation

with law enforcement, arguing that his attorneys “were ineffective for not filing




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  Case 2:12-cr-00033-MR-WCM      Document 246    Filed 09/15/15   Page 29 of 32
for a reduction before sentencing.” [Doc. 24 at 1]. For the reasons stated

herein, Petitioner’s claim is without merit and is therefore denied.

      F.     Motion for Appointment of Counsel

      Finally, Petitioner seeks the appointment of counsel to represent him

in this Section 2255 proceeding. Prisoners have no constitutional right to

counsel in a post-conviction proceeding. Pennsylvania v. Finley, 481 U.S.

551, 555-56 (1987); Rouse v. Lee, 339 F.3d 238, 250 (4th Cir. 2003), cert.

denied, 541 U.S. 905 (2004). Nonetheless, the Court may appoint counsel

to represent a habeas petitioner when the interests of justice so require and

the petitioner is financially unable to obtain representation. See 18 U.S.C. §

3006A(a)(2)(B). In the instant case, Petitioner has failed to demonstrate that

the interests of justice warrant the appointment of counsel. See United

States v. Riley, 21 F. App’x 139, 141-42 (4th Cir. 2001).          Accordingly,

Petitioner’s request for the appointment of counsel is denied.

IV.   CONCLUSION

      For the reasons stated herein, the Court finds that Petitioner is not

entitled to relief.

      The Court further finds that Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in


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  Case 2:12-cr-00033-MR-WCM     Document 246    Filed 09/15/15   Page 30 of 32
order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000)). Petitioner has failed to demonstrate both that this Court’s dispositive

procedural rulings are debatable, and that the Motion to Vacate states a

debatable claim of the denial of a constitutional right. Slack, 529 U.S. at 484-

85. As a result, the Court declines to issue a certificate of appealability. See

Rule 11(a), Rules Governing Section 2255 Proceedings for the United States

District Courts, 28 U.S.C. § 2255.

                                  ORDER

      IT IS, THEREFORE, ORDERED that:

      1.    Petitioner’s Section 2255 Motion to Vacate, Set Aside, or Correct

            Sentence [Doc. 1] is DENIED and DISMISSED WITH

            PREJUDICE.

      2.    Petitioner’s five Motions to Amend, [Doc. 11, 12, 14, 17, 20], are

            GRANTED, but the Court finds that Petitioner is not entitled to

            relief as to any of the claims presented in the motions to amend,

            and such claims are hereby DENIED and DISMISSED WITH

            PREJUDICE.

      3.    Petitioner’s motion to expand the record [Doc. 23] is ALLOWED.


                                      31

  Case 2:12-cr-00033-MR-WCM     Document 246     Filed 09/15/15   Page 31 of 32
   4.    Petitioner’s motions for an evidentiary hearing [Docs. 16, 25],

         Petitioner’s motion for reduction of sentence [Doc. 24], and

         Petitioner’s motion for the appointment of counsel [Doc. 29] are

         all DENIED.

   5.    The Court declines to issue a certificate of appealability.

   IT IS SO ORDERED.          Signed: September 14, 2015




                                    32

Case 2:12-cr-00033-MR-WCM    Document 246        Filed 09/15/15   Page 32 of 32
